   Case 3:12-cr-00686-CCC       Document 88      Filed 04/30/13   Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 12-0686CCC
 1) EDWIN RETAMAR-ORIOL, a/k/a Mastipo
 2) ELVIS AVILES-VEGA, a/k/a Gordo
 3) ABERTO AVILES-VEGA, a/k/a Arabe
 4) HIRAM QUINTANA-RODRIGUEZ
 5) KERVIN GREAVES, a/k/a Kevin
 6) JASON POTER
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on April 2, 2013 (docket
entry 71) on a Rule 11 proceeding of defendant Jason Poter (6) held before U.S. Magistrate
Judge Bruce J. McGiverin on April 1, 2013, to which no objection has been filed, the same
is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The Court FINDS
that his plea was voluntary and intelligently entered with awareness of his rights and the
consequences of pleading guilty and contains all elements of the offense charged in the
indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since April 1, 2013. The sentencing hearing is set for July 9, 2013
at 4:30 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on April 30, 2013.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
